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[28] MICHAEL COHEN'S HOUSE TESTIMONY

ICCOCOHSs

(Case called)

DEPUTY CLERK: Appearances for the United States
Attorney's Office.

MR. ROOS: For the United States Attorney's Office,
good morning.

Nicks Roos, Thomas McKay, Rachel Maimin and Andrea
Griswold.

DEPUTY CLERK: Appearances for Special Counsel's
Office.

MS. RHEE: Jeannie Rhee on behalf of Special Counsel!
Office. I'm joined here teday by Andrew Goldstein and Rush
Atkinson. Also in the courtroom in the back, we're joined by
FBI Heather D'Agostino and Mickey Robinson.

DEPUTY CLERK: Appearances for the defendant.

MR. PETRILLO: Good morning, your Honor.

Guy Petrillo and Amy Lester for Michael Cohen.

THE COURT: Good morning to all of you, and I note th
presence of the defendant, Mr. Cohen, at counsel table,

This matter is on for sentencing. Are the parties
ready to proceed?

MR. ROOS: Yes, your Honor.
MR. PETRILLO: Yes, your Honor.
MS. RHEE: Yes, your Honor.
THE COURT: First, Mr. Petrillo, have you reviewed
with your client the presentence investigation report?

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THE COURT PROCEEDINGS [29]

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MR. PETRILLO: I have, your Honor.
THE COURT: Are there any factual matters set forth in
(ie report that you believe warrant modification er correction?

MR. PETRILLO: WNot at this time, your Honor. Thank

THE COURT: Mr. Roos, are there any factual matters
“! forth in the presentence report that the government
'olieves warrant modification or correction?

MR. ROOS: No, your Honor.

THE COURT: What about the Special Counsel's Office?

MS. RHEE: No, your Honor.

THE COURT: Very well.

MR. PETRILLO: Your Honor, just to confirm, did the

nrt receive our Letter of last night?

THE COURT: I did.

MR. PETRILLC: Very well.
THE COURT: I did.

Now, the parties here, before I hear from them, have a
‘\|ference of opinion concerning the guidelines calculation,
ud, in particular, the grouping analysis for 18 CR 602.

Defense counsel argues that the tax evasion counts are
wt closely related to the other counts and, therefore, should
vol be grouped together. The government counters that Section
1.2 specifically enumerates guidelines that are to be
‘rouped, which include Section 2T1.1 for the tax evasion

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ICCQCOHs

counts, Section 2B1.1 for the false statement count, and
Section 2C1.8 for the illegal campaign contributions counts.

This Court finds the government's argument to be
correct as a matter of law where the offense levels are
principally determined by the amount of loss. See United
States v. Gordon, 291 F.3d 181, 192 (2d.cir 2002).

Accordingly, this Court makes the following guidelines
calculations: Grouping all eight counts of 18 CR 602 together,
the base offense level is 7, Because the loss here exceeded |
$1.5 million, but was less than $3.5 million, an increase of 16
levels is warranted.

Further, because the offense involved the use of
sophisticated means, including Mr. Cohen's creation of shell
companies and fake invoices, a further two-level enhancement is]
appropriate.

Finally, because Mr. Cohen used special skills as a
licensed attorney to facilitate the commission and conceaiment
of these offenses, a further two-level enhancement is
warranted. Thus, the adjusted offense level for group one,
that is, the counts charged in 18 CR 602, is 27.

Now, Mr. Cohen pled guilty to these crimes in a timely

manner before me and, accordingly, I grant him a three-level

reduction for acceptance of responsibility. Thus, his total f '
offense level is 24. The defendant has no prior criminal 4
convictions, and, therefore, his Criminal History Category is @ 5 d-

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THE COURT PROCEEDINGS [31]

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|. With a total offense level of 24 and a Criminal History
‘ategory of I, Mr. Cohen's guideline range is 51 to 63 months
of imprisonment on the eight charges of income tax evasion,
uiking false statements to a banking institution, and the two
‘ampaign finance crimes.

Now, with respect to Mr. Cohen's plea to making false
‘itements to Congress, that is separately grouped and has a
lone offense level of 6. This Court agrees with the Special
umsel's Office and Mr. Cohen that no enhancements are
vpLopriate. Mr. Cohen pled guilty to this crime before my

|\league, Judge Carter, and, accordingly, I grant him a
level reduction for acceptance of responsibility on this
‘tense. So, with a total offense level of 4 and a Criminal
tory Category of I, his guidelines range for making false
tements te Congress is zero to six months of imprisonment.
dingly, no multiple account adjustment applies.
And se with the guidelines calculation resolved, I
‘ll hear now from the parties.
Mr. Petrillo, do you wish to be heard on behalf of
Cohen?
MR. PETRILLO: I do, your Honor. Thank you.
Your Honor, may it please the Court, thank you.
My partner, Amy Lester, and I have the privilege of
resenting Michael Cohen and the honor of having met some of
' wombers of his family who are present here today. The

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group is larger than I've met, but it includes his mother and

father, his mother-in-law and his father-in-law, his wife and

children, and his brother and sisters, along with a niece and a

cousin.

Your Honor, we have made a sentencing submission with

numerous letters in support of the character of Mr. Cohen, and

it would not be our purpose today to repeat all of what we have

already written. Rather, unless your Honor would like me to

proceed otherwise, I would like first to address the remarkable

nature and significance of the life decision made by Mr. Cohen ©
to cooperate with the DOJ Special Counsel and the relevance
and, respectfully, the importance of that cooperation, not only
to this specific man and your Honor's evaluation of this
specific man, but also to the Court's consideration of how
Mr. Cohen's cooperation promotes respect for law and the
courage of the individual to stand up to power and influence.
When Mr. Cohen authorized us to contact the Special
Counsel's Office in July, he did so to offer his relevant
knowledge to the investigation knowing that he would face as 4-
result when his offer became public a barrage of attack by th ;
President. He knew that the President might shut down the
investigation, and he knew that there might come a time when }
would appear in court, and there would be no Special Counsel
stand up for him, as there is today.

He moved forward nonetheless. So it is true, as hag

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THE COURT PROCEEDINGS [33]

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heen pointed out by the government, that part of what Mr, Cohen

‘id in coming forward is similar to what many folks who are
pecting criminal charges do in that expectation. At that

‘ime he acknowledged that it was more than possible that his
‘se might proceed from mere investigation to charges and that
'. offer to assist could help him in some fashion should there

‘harges and should there be a proceeding. But it is also

' case that his decision was an importantly different
ision from the usual decision to cooperate. He came forward
‘(fer evidence against the most powerful person in our
vitiy. He did so not knowing what the result would be, not
ing how the politics would play out, and not knowing
‘lop the Special Counsel would even survive, nor could he
ipate the full measure of attack that has been made
sist him; not only by the President, who continues to say
people like Mr. Cehen whe cooperate with the Special
vl aré weaklings and those who hold fast and clam up are
'» but alse attacks by partisans and by citizens who
‘1 to be aligned with the President. And those attacks
included threats against him and his family.

So, respectfully, this is not a standard case of
‘ition. The cooperation here should be viewed under a
‘undard or in a non-standard framework. The SCO's
‘igation, the Special Counsel's investigation is of the
' national significance, no less than seen 40 pius years

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[34] MICHAEL COHEN'S HOUSE TESTIMONY

ICCOCOHs

ago in the days of Watergate. In the light of that reality,
respectfully, your Honor, it is important that others in
Mr. Cohen's position who provide assistance to this historic
inquiry take renewed courage from this proceeding, and that 1
enforcement and the promotion of respect for law also receive
boost from what happens here today. Mr. Cohen would want me
Say that he's always respected law enforcement. He's always
Supported it.

In the plea agreement with the Special Counsel, the
Special Counsel committed, Subject to conditions that have be
fully Satisfied, to bring to your Honor's attention for
Sentencing purposes in both cases the nature and extent of
Mr. Cohen's cooperation with that office. The Special Counsell
Says Mr. Cohen has gone to significant lengths to assist the
investigation, providing information on cere topics under
investigation, and is committed to continue to assist.

The office Says the information provided has been
credible and consistent with other evidence obtained in its
investigation. The office further Says that it has been useful
cooperation in four specific respects that are detailed in the
Special Counsel letter to the Court. And, finally, Mr. Cohen,

ccording to the Special Counsel, has made substantial and
significant efforts to remediate his own misconduct, accept
responsibility for his actions, and assist the Special
Counsel's investigation.

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THE COURT PROCEEDINGS [35]

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I Even the Southern District which has submitted a

| wwwhat sharp memo, which I will comment on in a few minutes,
' the Court, agrees that Mr. Cohen's assistance to the Special
| winsel was significant. That's at page 17 of its memo. And

| it his provision of information to law enforcement in matters
“) national interest is deserving of credit. And that's at
page 37 of the memo.

Your Honor, in this exceptionally important matter,

Cohen's cooperation is overwhelmingly the factor, we
ubmit, that should substantially mitigate his sentence, and
in action stands in profound contrast to the decision of some
‘hers not to cooperate and allegedly to double deal while
jr ctending te cooperate.

But that's not all. We also ask the Court
espectfully that it consider Mr. Cohen's life of good works as
| considers the sentence in this case. As we set forth in our
wemo, and as supported by the letters sent with the memo, he
| wos been a prodigious fundraiser for the St. Jude's Children's
Hospital.

He has been the key figure at a Manhattan private
school in the raising of funds committed to financial aid for
students without means to attend and who otherwise would not be
ible to attend absent his efforts.

He has done likewise impressive fundraising for

“peration Smile and assisted the Weatherford Foundation with

 

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[36] MICHAEL COHEN’S HOUSE TESTIMONY

ICCQCOHs

active personal efforts to advance the role model program of

that athletes' organization.

I have no doubt, of the aid and

   
  
 
 
  
  
   
   

Your Honor has read,
assistance Mr. Cohen provides regularly to children and friends
when they need to find medical care and stands by them in their
times of illness and hard times.

Whatever millions of words are said and written about
Mr. Cohen, and certainly he's in the paper every day, and on TV
there's coverage, sometimes it appears 24/7, this is a man of
generous spirit and the submissions to the Court demonstrate
that.

There is some mention in the Southern District's memo
regarding emphasis on his own contributions financially, but I
don't find it in our memo. The crux of what we're saying is
that he puts himself out to raise money for very, very
worthwhile organizations. He puts his whole body into it, and
this is a man whose first instinct is to help.

When it comes to Mr. Cohen's capacity te follow
through in his commitment to lead a good and law-abiding life,
I would also like to underscore what the Court has been
informed of by several members of the bar. All portray a man
of integrity and honorable intentions and care for the
underserved, a man who does not engage in sharp business
practices.

To be sure, the Southern District points out that lik

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THE COURT PROCEEDINGS [37]

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ICCOCOHS

many clients that lawyers meet from time to time, Mr. Cohen has
occasionally erupted in frustration at what he perceives to be
wrongs. For example, as the Southern District points out, he
hecame very angry when a bank refused to focus on a transaction
‘hat would have allowed him to sell his taxi medallions at a
‘ime when doing so would have been lucrative, waited so long
‘efore they approved the transactions, that the transaction
welted away as the market dipped.

He expressed frustration,

imt that is cited in the Southern District's memo as evidence

 

! a bad character. I have so many clients who come into my

!tice on a regular basis frustrated with life. That's an

 

if havacter.

| ich I've represented Michael would say without equivocation

umeature and meaningless observation in my view as to his
It's simplistic and it's unfair.
Mr. Alpstein says, a lawyer who's worked with

; ‘|. Cohen on transactions, "Every seller of a transaction on

lit Michael was and is an honest, responsible, and fair

\.inessman,"

The man is 52 years old. There's a long record of how

has conducted himself in business and with financial
wititutions. No bank has ever lost money dealing with Michael

tion. I'll say that again: No bank has ever lost money

vuling with Michael Cohen. No friend in need has ever been

ned away.

Your Honor, we addressed the offense conduct, and I

 

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[38] MICHAEL COHEN'S HOUSE TESTIMONY

ICCQCOHS

had not planned to say more than a few words about it until I
read the Southern District's memo, and I just want to say fei
words in response to the memo. And I don't want to belabor

I know that you've read all the materials. No one is saying,

least of all, Michael Cohen, or has said that a false stateme:

to a bank is other than serious. In this case, we simply mad

the point that the home equity line of credit as to which the

application was false was ten times oversecured at the time of

the application and that no money damage resulted.

make it right? Wo. It does not make it right.

the conduct into some kind of proportion.
No one is saying, least of us, Michael Cohen,

evasion of any kind is other than serious. The speaking

information in this case, however, says that the crux of the

conduct was failing to identify deposits as income to an
accountant who received bank statements. Does that make it

vight? No. It doesn't make it right. But it puts in
proportion and points out that the Court here is not dealing
with a mastermind of tax deception.

Ms. Lester and I were given three to four days to

speak to the tax charges in this case before they were filed.”

They were not specified. When asked questions about what th

entailed, I was met with stony silence and no realistic
opportunity to meet with the tax division, as is common. I

believe that we would have had a very strong chance of

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Does that —

But it puts |

that t@

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THE COURT PROCEEDINGS [39]

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‘iu the case from the criminal track had we had that
tunity.
But life is tough and Michael Cohen accepts that. We

i! if, Our point is not to explain the conduct away. Our

i's LO say that the offense is well within the heartland
ios that are routinely treated in a non-criminal context,

‘0 that your Honor can consider the punishment aspect

ited with the criminal tax evasion that has been

‘od, and that no one is trying to push away aS someone

fault.

 

I will say very littie on the campaign charges, the
in tinance charges, and the statement to the legislature.

sinl to point out what Mr. Gerber, a lawyer in New York,

PREP +E

/'o the Court. He's a former member of the grievance

‘ee, and he's written on behalf of Mr. Cohen that he's

2 ae

iiuy attorneys succumb to the wishes of a particularly

%

ive client. "Mr. Cohen," he writes, "had a client whose

\\linary power of persuasion got him elected to the

a

| office in the land." Again, the conduct is quite
i+, but Mr. Gerber's experience is certainly worthy of
a3 the Court takes into account the human element of what
iened here,
Based on all these factors, your Honor, most
stantly cooperation, good works, and the nature of the

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S, we respectfully submit that the case calls for a full

 

 

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[40] MICHAEL COHEN'S HOUSE TESTIMONY THE COURT PROCEEDINGS [41]

  
 
 
  
  
  
   
 
    
  

 

 

 

 

 

 

 

 

 

 

 

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1 consideration of mercy as your Honor sentences our client, ‘im for the cenduct that the plea agreement immunized him for,

2 Michael Cohen, | When the government repeats twice that Mr. Cohen declined to

3 A few words on what the Southern District has | \isclose his prior bad acts "if any," they come forward with

4 Submitted. It is not the case that Mr. Cohen has declined to | vthing to suggest that they don't know everything already,

5 answer questions from the Southern District or from our duly | wich less that there's anything there.

6 authorized U.S. Attorney's Offices, state law enforcement At the end of the day, it's not that important, your

7 entities, and Congress. He's ready to do that. He is wary o enor. I just don't think it's fair. I don't really

8 a long-term cooperation agreement for personal reasons and ‘understand the strident tone of the memo, and trying to put it

9 because he wants both te remove himself and to remove his 1 ‘nba context, I'm looking at the beginning of the case. First,
10 family from the glare of the cameras and try to work his way | ‘1 unwillingness to delineate charges, a claim that I should
11 and their way back from an abnormal life. The period of such | ‘ready know what they are. A few days to respond once three
12 an agreement would be indeterminate. The press is overwhelmi | ‘Legories of alleged offenses were set forth. And then after

|
13 in this case. But none of this is to say he will not make I ‘lee plea, a courthouse press conference on a plea of guilty. I
14 himself available for questioning on investigated matters, and | ubmit, your Honor, that no other defendant would be treated in
LS indeed, as you know, he's already met with the Southern | ‘his fashion on these offenses, but Mr. Cohen had the
16 District on one of those matters. | «wistertune to have been counsel to the President.
17 But it's also unfair and it's mere innuendo that This rush to charge and media display suggest,
18 Mr. Cohen would not describe his own misconduct, as the espectfully, that the Court should take with a healthy grain
19 government says twice, "if any." I know the Court is aware | salt the contentions by the Southern District of New York
20 that search warrants were executed in this case. as a result, | ‘lat Mr. Cohen left them at the altar of a Southern District
21 all of his papers, computers, devices, Phones, and recordings i “voperation agreement. Rather, he made a personal and rational
22 were seized and dozens of agents, and at least four Assistant | Jecision that he would respond truthfully to any investigative
|

23 U.S. Attorneys and supervisors questioned dozens and dozens of ‘epic, but that it was not in his or his family's interest to
24 witnesses and reviewed the evidence. They know what is there, ‘emain in the constant glare and under the requirements of a
25 He pled to what he pled to, and the plea agreement immunized “ooperation agreement which could go on for months and months

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[42] MICHAEL COHEN'S HOUSE TESTIMONY

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and years and years. And he sat down with Southern, and they
found him "forthright and credible." Page 15.

The rules of the Southern District of New York as to
how every case cf cooperation should proceed, of course, were
given to us by the minor gods and woe unto those who fail to
follow their scriptures, but they don't mean that they work in 7
every situation, no matter the hacks, 16 matter the
circumstances. They don't mean the prosecutor is always right
about how the standard procedure will play out.

And, effectively, your Honor, the Southern District
would have this Court penalize Mr. Cohen because he did not
follow their standard form agreement and procedure even though
he cooperated with the Special Counsel, provided them with
forthright and credible information, and offered, and hereby
offers, to respond to any other questions, and they would do it
without putting forth anything to suggest that there's any
there there by way of prior bad acts. This approach, your
Honor, is erroneous. It's error to consider what they are
asking you to consider. It's fundamentally unfair for a
prosecutor to ask a Court to sentence a defendant on
hypothetical facts and circumstances rather than based on the
facts and circumstances that the Court actually knows. Those
facts and circumstances do not present a mystery of the kind
that the office's memorandum seeks to suggest. I don't know
what's behind it, and it's peculiar in a context in which a

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THE COURT PROCEEDINGS [43]

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ibling office of the DOJ agrees that Mr. Cohen cooperated as
| forth in the plea agreement and as reported to your Honor
in the Special Counsel's letter.
I'm not going to overly speculate about what's going
“here. I think the Court has as much experience as I in
hese matters, but I would suggest that power to the Southern
istrict if they want to make a bigger case than they've
‘lr@ady made, God bless them. And maybe there's a little bit
1 pride involved here in not being at the center of attention.
who knows? Maybe all those articles about a big financial
‘raud case and a big taxi medallion case followed by these
j'leas is somehow disappointing. It's not for me to say.
We respectfully request, your Honor, a variance under
'he guidelines and the exercise of leniency in the imposition
i sentence on Mr. Cohen, and we request that on behalf of our
lient and his family. He has done, Michael has, a good deal
'o help, not only the Special Counsel but a lot of people. He
is a very good man.
Thank vou.
THE COURT: Thank you, Mr. Petrillo.
Ms. Rhee, does the Special Counsel's Office wish to be
heard?
MS. RHEE: Yes, your Honor.
Thank you, your Honer. On behalf of the Special
Counsel's Office, our remarks will be brief. We rely, and we

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speak primarily through our written submission which has
already been submitted to this Court. in supplement to that,
we just have two discrete, important points that we want to
highlight for the Court's attention.

The first is that the offense that Mr. Cohen pled to
in 18 CR &50 was a serious criminal violation. As Mr. Petrill
alluded to, the subject at issue here that Mr. Cohen actively
misled Congress about was an issue of national importance and
interest, and Mr. Cohen intentionally repeated many of the
false statements to us at the Special Counsel's Office
initially when we met with him in July. And those false
statements were intended to limit ongoing investigations into
Russian interference in a U.S. presidential election, and the
question of any links or coordination between a campaign and a
foreign government. Our submission elucidates why those lies
were material, why those lies were consequential.

But what we really want to leave with the court todayy
for the Court's consideration is Mr. Cohen's interactions with
the Special Counsel's Office since that initial voluntary
interview in July. The government has agreed with Mr. Cohen
bring his assistance to your attention for due consideration
this sentencing, and what we want to say about that is that
Mr. Cohen has endeavored from his second session with us in
September of this year going forward to this day, he has
endeavored te account for his criminal misconduct in numerous

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THE COURT PROCEEDINGS [45]

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He has fully accepted responsibility for the lies that
‘old Congress. He has provided our office with credible and
‘i ible information about core Russia-related issues under
eoligation and within the purview of the Special Counsel's
ive, There is only so much that we can say about the
'iculars at this time given our ongoing investigation, but
‘ope that we have sufficiently outlined for the Court that
were ranging, and that they were helpful.
Finally, your Honor, what we want to highlight for
(4 Court is that one of the things that we and the Special
insel's Office have most appreciated about Mr. Cohen's
istance is that he has provided valuable information,
sstigative information, to us while taking care and being
tul to note what he knows and what he doesn't know. Rather
inflate the value of any information that he has brought
wird te us in what he had to provide, Mr. Cohen has sought
‘ell us the truth, and that is of utmost value to us as we
| in our office to determine what in fact occurred,

And so we want to highlight that for the Court and to

wlerscore what we set out in our submission about the value,

‘nature, the reliability, and the credibility of Mr. Cohen's
istance.
THE COURT: Thank you, Ms. Rhee.

MS. RHEE: Thank you, your Honor.

THE COURT: Mr. Roos, does the United States

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[46] MICHAEL COHEN'S HOUSE TESTIMONY

ICCOCOHS

Attorney's Office wish to be heard?

MR. ROOS: Yes, your Honor. Thank you,

Your Honor, I'd like to start where mr, Petrillo
ended, which is to share a few words about the information §
Mr. Cohen provided to law enforcement and the credit that js
appropriate.

Now, we agree that Mr. Cohen's decision to provide
information to the Special Counsel's Office in matters of
national interest is deserving of credit, and we defer to scy
description of mr. Cohen's assistance to them and in their
investigation. te don't dispute any of that assessment or th
assessment, frankly, that defense counsel has made.

But for the reasons that we've detailed in our
sentencing memorandum, any downward variance that Mr. Cohen
receives should be modest. Any successful assistance Mr. Coh
provided was in the context of a case where the guidelines
range is zero to six months. It's within the context of the
Special Counsel Office's case.

But here, he is facing three additional categories of
crimes, eight total charges, land didn't come anywhere close tae
assisting this office in an investigation. here is no mystery
about this. No one is attempting to penalize Mr. Cohen for not
cooperating. Quite the opposite, there is no obligation to
cooperate, but for all the hypothesizing that Mr. Petrillo has

done, Mr. Cohen can't have it both ways. There is a standard

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THE COURT PROCEEDINGS [47]

» which this office conducts cooperation. Your Honor is

‘ior with it. There is no reason, no matter the

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itiuance or the nature of the case, whether or not it

es public attention, for us to depart from that practice.
' treated Mr. Cohen just the way we treat every other

nlant that deals with the United States Attorney's Office.

[por, Mr. Cohen, he chose not to pursue the path of

| “ooperation. He didn't provide substantial assistance to
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yjavernment in this investigation, and he doesn't have a 5K

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ter And for these reasons, our view is that a . ee

ince, the variance urged by the defendant isn't warrante
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To do so would send the wrong message. It would send

massage that a defendant whe chooses a different path, a
eS
lective cooperation on only particular subjects can receive

credit that so many defendants seek when they expose

uomselves completely to the government. \

Now, I'd like to touch on two points, two of the
‘3(a) factors that in the government's view are so important

‘ea, and they really go to what Mr. Petrillo said about the

{ote ty

iiture and the seriousness of these offenses.
So, first, the defendant pled guilty to four crimes

iere, your Honor, and Mr. Petrillo, he identified areas in
her®, y

; ‘ g but
which certain crimes in their view may not be as serious,

entencing Mr. Cohen not only on four different charges but

 

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| lie pled guilty to four different crimes, and your Honor is
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[48] MICHAEL COHEN'S HOUSE TESTIMONY

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four separate crimes. Each of those charges is itself serious,
Each merits punishment in its own right. Each cause a disting
harm, and taken together there is a compounding effect.
Collectively, the charges portray a pattern of deception, of
brazenness, and of greed that manifested in multiple aspects 6
Mr. Cohen's professional life.

In particular, Mr. Cohen's conduct related to the
election is serious because of the tremendous societal cost
associated with the campaign finance crimes and the lies to
Congress. Mr. Cohen committed these deceptive acts to protect
the political campaign from allegations of impropriety, and,
his own admission, he committed the campaign finance crimes f
the purpose of influencing the election. :

He also, quite brazenly, stole millions of dollars in
income from the IRS. And on this subject, defense counsel
describes the ways in which this is really nothing more than @)
civil matter. But that is not the case, your Honer. These tf
crimes went on for at least five years. They involve miilions
cf dollars of income that was deliberately not reported to the
IRS. This is not a case of an assessed tax not being paid.
It's something quite different. It was deliberate, it was
willful, and that's what the defendant's plea reflects.

Now, together these crimes implicate core defining
parts of our democracy: Government funded by the people, fre
and transparent elections. And in committing these crimes,

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THE COURT PROCEEDINGS [ 49]

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‘i. Cohen has ereded faith in the electoral process and
wpromised the rule of law. And so just as he asks for
oniency because of what he claims he's done for the republic,

‘fe same can be true in the way in which he's undermined it.

| of these facts, your Honor, favor a substantial custodial

ontence.

But the second reason why a substantial custodial
utence is warranted here is because of the need to promote
slerpence., And when it comes to Mr. Cohen, his training and
perience as an attorney should have been a deterrent to his
1 criminal conduct. Instead, he used his legal license in
‘!herance of his crimes, and that is a significant point that

uld be taken into consideration in sentencing. A

'tantial sentence would serve as a deterrent to future
inal conduct by this particular defendant.

But more importantly, your Honor, a substantial

‘tonee would also serve as a general deterrent to future
imital conduct by individuals like Mr. Cohen. This is
‘ticularly important in the context of tax evasion and the
siign's finance crimes, crimes that are difficult to detect,
‘| are so frequently orchestrated through private

vistctions kept secret from the public. The unfairness here
wot to Mr. Cohen. It's to the public. Particularly in

ul of the public interest in this case, a meaningful
stence of imprisonment, one that sends a message, an

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EN’S HOUSE TESTIMONY THE COURT PROCEEDINGS [51]

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“ppropriate message abou i i
g t the seriousness of these crimes is that the defendant provided information that was valuable to

‘pprepriate. That i
Sort of message must be sent in this case, * Bpacked Souneel"s Offied. We doutt dispute that. and

that even Powerful and ivi i
i fa c
privileged individuals cannot violate i's the reason why the government is seeking or recommends a

these laws with impunity,
dest variance in this case as opposed to seeking a guideline

So I guess the answer to Mr. Petrillo's question is

U.
nless the Court has any questions for the governmen: ontence.

we otherwise rest on our submission

THE COURT: Thank
ank you, Mr. Roos. THE COURT: ALl right. Thank you.

MR, PETRILLO: J: i ifi i
ust a point of Clarification, your Mes Pobetlto, d6so Your elient wish ta address the

   
   
   

Honor, if I may.
wk before sentence is imposed?

THE COURT: Yes. i
S- Go ahead, Mr. Petrillo. MR. PETRILLO: He does, your Honor, and he's asked me

t to clarify because he heard ~- and, again, I may have

11k

MR. PETRILLO: I just want to be clear because I

wasn't sure whether Mr, pr i i
cos affirmed or failed to affirm that nd Zt incorrectly, that -- the amount of restitution in this

i|
vu; that is, the amount due and owing to the IRS is

the government; that is, the Southern District, by a letter

dated November 29 in thi i i
8 case captioned with this case number _ proximately $1.393 million, and he's under the impression the

| rt may have said that the guidelines range started where it
And he

that is the first plea before your Honer, agreed that the

defendant s rovision of informatior EG e Spec al ouns = | because
Pp. £
HE Cou el is

a factor to be considered i
ed by the court under Title ig ot wanted to make sure that that point was entered into the

it doesn't change our position on the guidelines

U.S. Code, Section 3553(a) in the first case, not just the ‘ord

‘hough, and I am only noting it for the record.

19 second
Casé. And I wasn't Sure whether I heard Properly that |
20 Mr. Roos was deli i
neating between the two cases. I may just i) And Mr. Cohen would like to be heard, your Honor.
21 have mishear |
d, but I want to make sure it's clear. | THE COURT: Fine. I'll hear from Mr. Cohen now.
22 MR. ROOS |
‘ > Your # i
onor, if I may? | THE DEFENDANT: Your Honor, stand here or to the
23 THE COURT: You may. | Lum?
hodium?
24
MR. ROOS: I bel i i i
lieve this was the first point I THE COURT: I think it would be best to take the
25 add i |
ressed, but to Clarify any confusion, the government's view | podium
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[52] MICHAEL COHEN'S HOUSE TESTIMONY

 
  
 
  
  
  
   
 
  
    
  
   
  
   
    

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THE DEFENDANT: Thank you, your Honor.

I stand before your Honor humbly and painfully awa
that we are here today for one reason: Because of my actio
that I pled guilty to on August 21, and as well on November

I take full responsibility for each act that I ple
guilty to, the personal ones to me and those involving the |
President of the United States of America. Viktor Frankl -
his book, "Man's Search for Meaning," he wrote, "There are
forces beyond your control that can take away everything ye
possess except one thing, your freedom to choose how you
respond to the situation." a

Your Honor, this may seem hard to believe, but tod

is one of the most meaningful days of my life.

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Pee cee fe cue ee 2 Ee ee ee ee

The irony 10
teday is the day I am getting my freedom back as you sit at”
bench and you contemplate my fate.

IT have been living in a personal and mental
incarceration ever since the fateful day that I accepted tlh
offer to work for a famous real estate mogul whose busines:
acumen I truly admired.

In fact, I now know that there js a

little to be admired. I want to be clear. I blame myself §
the conduct which has brought me here today, and it was ny
weakness, and a blind loyalty to this man that led me to ne
a path of darkness over light. It is for these reasons |
to participate in the elicit act of the President rather
to listen to my own inner voice which should have warned

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THE COURT PROCEEDINGS [53]

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af the campaign finance violations that I later pled guilty

wre insidious.
Recently, the President Tweeted a statement calling me
‘1, and he was correct, but for a much different reason than
implying. It was because time and time again I felt it
wy duty to cover up his dirty deeds rather than to listen
“own inner voice and my moral compass. My weakness can be
\terized as a blind loyalty te Donald Trump, and I was
‘or not having the strength to question and to refuse his
‘in. I have already spent years living a personal and
| incarceration, which no matter what is decided today,
‘v1 this mistake will free me te be once more the person I
a Am.
Your Honor, I leve my family more than anything in the
My dad who is here today, my mom, my in-laws, siblings,
“1 my life, my wife Laura, my pride and joy, my daughter
‘(ty MY gon, Jake. There is no sentence that could
ede the suffering that I live with on a daily basis,
1 that my actions have brought undeserved pain and shame
oy family. I deserve that pain. They do not.
T also stand before my children, for them to see their
‘aking responsibility for his mistakes, mistakes that
'oreed them to bear a shameful spotlight which they have
vothing to deserve, and this breaks my heart. For me, the
“| Punishment has been seeing the unbearable pain that my

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[54] MICHAEL COHEN'S HOUSE TESTIMONY

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actions and my associations have brought to my entire family
My mom, my dad, this isn't what they deserve to see in their
older age, especially when as a child they emphasized to all)
us the difference between right and wrong. And I'm sorry.

I believed during this process that there were only
two things I could do to minimize the pain to my family: A
my guilt and move these proceedings along. This is why I did
not enter into a cooperation agreement. I have elected to
sentenced without asking for adjournment. I have given
information during countless hours of meetings with prosecuté
that have been cited as substantial, meaningful and credible.
I have chosen this unorthodox path because the faster I am
sentenced, the sooner I can return to my family, be the fath
I want to be, the husband I want to be, and a productive me
of society again. I do not need a cooperation agreement to
in place to do the right thing. And I will continue to
cooperate with government, offering as much information as 1
truthfully possess.

I stand behind my statement that I made to George
Stephanopoulos, that my wife, my daughter, my son have my fi)
loyalty and always will. I put family and country first. My]
departure as a loyal soldier to the President bears a very
hefty price.

For months now the President of the United States,

of the most powerful men in the world, publicly mocks me,

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THE COURT PROCEEDINGS [55]

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‘tling me a rat and a liar, and insists that the Court
ence me to the absolute maximum time in prison. Not only
this improper; it creates a false sense that the President

1) weigh in on the outcome of judicial proceedings that

wlicate him. Despite being vilified by the press and

vindated with character assassinations over the past almost
years, I still stand today, and I am committed to proving
integrity and ensuring that history will not remember me as

ie villain of his story. I now know that every action I take

the future has to be well thought out and with honorable
.iention because I wish to leave no room for future mistakes
my life.
And so I beseech your Honer to consider this path that

mt currently taking when sentencing me today. And I want to

)logize to my entire family for what my actions have put them
ough. My family has suffered immeasurably in the home and
world outside. I know I have let them all down, and it

il be my life's work to make it right, and to become the best

-ision of myself.
Most all, I want to apologize to the people of the

nited States. You deserve to know the truth and lying to you

as unjust. I want to thank you, your Honor, for all the time

i'm sure you've committed to this matter and the consideration

‘hat you have given to my future.

Again, I want to thank my family, my friends, many who

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[56] MICHAEL COHEN'S HOUSE TESTIMONY

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are here today, who are with me, especially all the people whe
wrote letters on my behalf. In addition, I would like to than
the tens of thousands of strangers who despite not knowing me
at all, not knowing me personally have shown kindness and
empathy in writing letters to me and offering support and
preyer. And I thank you, your Honor, I am truly sorry, and

promise I will be better.

Iss:

THE COURT: You may be seated, Mr. Cohen.

THE DEFENDANT: Thank you.
THE COURT: The defendant, Michael Cohen, comes befe

this Court, having pled guilty to five counts of income tax

evasion, one count of making false statements to a banking
institution, one count of causing an unlawful corporate
contribution, and one count of an excessive campaign
contribution in the 18 CR 602 criminal case, and one count @
making false statements to the U.S. Congress in 18 CR 850.
Bach of these crimes is a serious offense against the United
States.

Now, I've reviewed the revised presentence
investigation report, and I adopt the findings of fact in
report as my own. I will cause the report to be docketed a
filed under seal as part of the record in each of these ca
T have also reviewed all of the memoranda submitted by cou
for the parties and the letters submitted on Mr. Cohen's
behalf.

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THE COURT PROCEEDINGS [57]

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I previously reviewed the guidelines with all of you.
ico it to say at this juncture that with respect to the
' case, the guidelines range is 51 to 63 months of

vonment, and the guideline Yange on the second case is

'1o six months of imprisonment. of course, the Sentencing

he

lines should be the starting point and the initial
fawirk,

Turning to the 3553 (a) factors, the question for this
is what is the appropriate and just sentence for these
‘nd this defendant. Mr. Cohen pled guilty to a

lle smorgasbord of fraudulent conduct: Willful tax
', making false statements to a financial institution,
campaign contributions, and making false statements to

Bach of the crimes involved deception and each
'o have been motivated by personal greed and ambition.
{lis extensive criminal conduct also has broader public
ves. [es cohen evaded more than $1.3 million in
income taxes for the tax years 2012 through 2016. He

tailed to report $4 million earned through various
| income from leasing taxi medallions to consulting
| brokerage commissions. \ As Justice Oliver Wendell
mously said, "Taxes are the price we pay for a
d society."
Now, Mr. Cohen also made a series of false statements
ial institutions regarding his liabilities and monthly

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[58] MICHAEL COHEN’S HOUSE TESTIMONY

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expenses so that he would be approved for a $500,000 home ii
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equity line of credit.

Further, Mr. Cohen committed two campaign finance
crimes on the eve of the 2016 presidential election with the
intent to influence the outcome of that election. He made o

facilitated payments to silence two women who threatened to-

public with details of purported extramarital affairs, and

Mr. Cohen admitted that he did so in coordination with and

the direction of Individual One.
Finally, in a separate criminal proceeding filed}

the Special Counsel's Office, Mr. Cohen admitted that he m

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false statements about a proposed business project in Mosce
congressional committees investigating possible interferen®
the Russian government with the 2016 presidential election
Each of these crimes standing alone warrant serious punis

The financial harms are readily ascertainable.

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Mr. Cohen's tax evasion offenses cheated the federal gover
out of $1,393,858. His deception caused a bank to appro
$500,000 line of credit he did not deserve. And even niall
campaign finance crimes may be measured by the amount of —
unlawEul contributions: The $150,000 hush money payment
he coordinated, and the $130,000 hush money payment thal
funneled from his home equity loan through a shell corpe

While this is his first conviction, the magnitus
breadth, and duration of his criminal conduct requires §

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ies live lost his moral compass and sought instead to

Sere rely, has led him to this courtroom today.

THE COURT PROCEEDINGS [59]

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lelerrence. Tax and campaign finance prosecutions are rare,

ut unlike the mine-run tax evasion or campaign finance
iolation, Mr. Cohen's crimes implicate a far more insidious
11m to our democratic institutions, especially in view of his
sequent plea to making false statements to Congress.

Thus,

' need for general deterrence is amplified in this case.

Now, Mr. Cohen had a comfortable childhood and enjoyed
| the privileges of growing up in a close-knit, upper class
‘7h on Long Island. He and his siblings had loving parents

orked hard to provide everything for their children. He
sited from law school and practiced law in various law
until the Trump organization hired him as an attorney in

Thereafter, his entire professional life apparently

ed around the Trump organization. He thrived on his

. wealthy and powerful people, and he became one

‘he letters submitted on his behalf reveal a man

“lito his family and generous with his time and money to
‘« in his own orbit. A number of individuals have

‘me describing how Mr. Cohen came to their aid

veking anything in return. Of course, that kind of

i» laudable. But somewhere along the way Mr. Cohen

» new-found influence. That trajectory,

 

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[60] MICHAEL COHEN'S HOUSE TESTIMONY

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While Mr. Cohen does not have a formal cooperation
agreement with the United States Attorney's Office, he has
nevertheless et with prosecutors on a number of eccasions.
The Special Counsel's Office notes that he has voluntarily
provided information "about his own conduct and that of othe
on core topics under investigation" by the Special Counsel a
that the information he has provided has been "relevant and
useful."Further, the Special Counsel urges that any sentence
imposed in connection with 18 CR 850 should be concurrent 7
any sentence imposed in the earlier case.

While the United States Attorney's Office acknowleda
that Mr. Cohen's assistance to the Special Counsel's Office
"significant" and warrants a modest variance from ‘the
guidelines range, they contend that it should not approach ti
type of credit typically given to cooperating witnesses in ‘tall
district.

However, cooperation, even when it is not the prody>
of a formal agreement, should be encouraged where informatiag”

is provided that advances criminal investigations. Our sysi

of justice would be less robust without the use of cooperat!
witnesses to assist law enforcement. ;

Based on the submissions of the parties, this Court |
agrees that Mr. Cohen should receive some credit for provid
assistance to the Special Counsel's Office. \While Mr. coham

pledges to assist the Special Counsel's Office in further

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THE COURT PROCEEDINGS [61]

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that is not a matter that this Court can

consider now. \
—_—_

There is an acute need for the sentence here to

iwestigations,

{lect the seriousness of the offenses and to promote respect

the law. As a lawyer, Mr. Cohen should have known better.
evasion undercuts the government's ability to provide
vntial services on which we all depend. False statements to
Ing institutions undermine the integrity of our financial
eu. Campaign finance violations threaten the fairness of
'ions, and false statements to Congress interfere with the
‘inding process in matters of national importance.

While Mr. Cohen has taken steps to mitigate his
lial conduct by pleading guilty and volunteering useful
imation te prosecutors, that does not wipe the slate clean.
hon selected the information he disclosed to the
wnt] This Court cannot agree with the defendant's
‘fon that no jail time is Warranted. In fact, this Court
twelieves that a significant term of imprisonment is
lustified in this highly publicized case to send a

!o those who contemplate avoiding their taxes, evading
vii finance laws or lying te financial institutions or
Our democratic institutions depend on the honesty of
‘ttsenry in dealing with the government. And so it is
1 that backdrop that I am prepared to sentence the
lant.

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[62] MICHAEL COHEN'S HOUSE TESTIMONY THE COURT PROCEEDINGS [63]

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Mr. Cohen I'd ask, sir, that you stand at this time. Just to be clear, the sentence in the earlier case is

Mr. Cohen, it's my judgment, sir, that on 18 CR 602 — neurrent on all counts in that information.

that you be sentenced to a term of 36 months of imprisonment f And so, Mr. Cohen, this constitutes the sentence of

be followed by three years of supervised release on each cou it ') Court. I advise you that to the extent you have not

te be served concurrently with the sentence that I will impos viously waived your right to appeal, you have the right to

in a moment on 18 CR 850. I'm imposing all of the standard spoal., I advise you further that if you cannot afford

conditions of supervised release and the following special it uunel, counsel will be provided to you free of cost.

condition: That you provide the probation department with i Petrillo has done a superb job in navigating you through

access to any requested financial information. matter and bringing the sentencing submissions before the

Further, I'm going to enter an order of forfeiture ‘lt. I'm confident that he and Ms. Lester will advise you

this case in the amount of $500,000, and I'm going to enter #3 hi ‘her with respect to your appellate rights. You may be

order for restitution in the amount of $1,393,858. I am als& ed, sir.

going to impose a fine of $50,000, and the mandatory special " Are there any further applications at this time?

assessment of $800. MR. ROOS: Not from the government, your Honor.

Now, with respect to 18 CR 850, I sentence you to ti THE COURT: Ms. Rhee.

months of imprisonment to be served concurrently with the tem MS. RHEE: Your Honor, the Special Counsel's Office

impesed in 18 CR 602 to be followed by three years of iust like to confirm that there will he a separate

supervised release, also to be served concurrently with the NO fine,

aa

term imposed in 18 CR 602, and with all of the standard THE COURT: Yes.

conditions of supervised release. i MS. RHEE: Not to run concurrently.

In this case with respect to 18 CR 850, I am also THE COURT: No, it's a separate fine. It's a separate

going to impose a $50,000 fine in that case to recognize the nd the guidelines in my view do not recognize the

gravity of the harm of lying to Congress in matters of natiall '. of the offense of making false statements to Congress.

importance. And, once again, I will impose the mandatory MS. RHEE: Thank you for the clarification.

special assessment in that case of $100. THE COURT: Mr. Petrillo.

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MR. PETRILLO: Your Honor, if you would, would the
Court give consideration to voluntary surrender by the
defendant and consider recommending the designation of
Otisville as the place of imprisonment?

THE COURT: I will make that recommendation, and I
will allow for a voluntary surrender in this case. What
surrender date are you seeking?

MR. PETRILLO: I don't have one particularly in mind,
but from past experience it seems to take about 10 or 12 week:
for the BOP to —-

THE COURT: Right. Is March 6 all fight? And if fo
Some reason you've not been Notified of a designated
institution, just write a short note to me, and I will put tli
Surrender date over.

MR. PETRILLO: Very well.

THE COURT: Go ahead.

MR. PETRILLO: I have one other thing for the record
that doesn't require a ruling, but as you know, under United —
States v. Ganais in the Second Circuit, it's incumbent upon t
defendant to demand his property back post a search procedure
as part of protecting his rights under the Fourth Amendment.
And so for the record, I'd like to make that demand and thus
have no confusion as to where that stands.

THE COURT: All right. I'm confident there will be
further briefing with respect to that matter after this

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THE COURT PROCEEDINGS [65]

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‘weding is concluded, and I will await receipt of some
tmission.

This matter is concluded. Have a good afternoon

(Adjourned)

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